      Case 8:25-cv-00201-DLB            Document 97-7     Filed 06/27/25      Page 1 of 4



                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


 CASA, INC. et al.,

                Plaintiffs,

        v.
                                                        Case No.: 25-cv-00178-AKB
 DONALD J. TRUMP et al.,

                Defendants.




                                 DECLARATION OF NIURKA


       I, Niurka, upon my personal knowledge, hereby submit this declaration pursuant to 28

U.S.C. § 1746 and declare as follows:

   1. I am more than 18 years of age and competent to testify, upon personal knowledge, to the

       facts set forth herein.

   2. I am using a pseudonym to protect myself and my newborn child. I fear that the

       government and people in the United States with anti-immigrant beliefs may retaliate and

       do damage to my family. The recent news of arrests of protesters and students in the United

       States, for example, makes me feel unsafe and uncomfortable using my real name. I also

       want to make sure that the privacy of my newborn child is protected and that information

       about my child does not become public.

   3. My husband and I, along with our older child, fled to the United States from Cuba. We

       have lived in Florida since we arrived approximately four years ago. We left Cuba
  Case 8:25-cv-00201-DLB          Document 97-7        Filed 06/27/25      Page 2 of 4



   because we suffered political persecution. My husband, older child, and I have pending

   asylum applications as well as pending applications to become lawful permanent

   residents through the Cuban Adjustment Act.

4. When I agreed to share my story in the Complaint as a member of ASAP, I was seven

   months pregnant. Since then, I gave birth to a baby, L.G., after February 19, 2025, in

   Florida.

5. I want L.G. to have U.S. citizenship because I want L.G. to grow up with the certainty of

   belonging to this nation, to have a land that supports L.G. and which L.G. can be proud to

   call their homeland. I wish for L.G. a future full of opportunities, where L.G. can study,

   develop, and build their dreams without the limitations imposed by immigration

   uncertainty. I want L.G. to have U.S. citizenship because I want L.G. to be able to

   achieve success in the United States and attend college here, and that would become

   significantly more difficult if L.G. does not have U.S. citizenship from birth.

6. My husband and I have no intention of going back to Cuba because of the dictatorship;

   we have made the United States our home, and we want to contribute to its growth and

   prosperity. We do not want L.G. to be a Cuban citizen, and do not want L.G. to ever

   have to set foot in Cuba. We have tremendous fear that if our older child, L.G., or any

   future children we may have were exposed to life in Cuba, that they would be forced to

   either conform with harmful communist viewpoints or else be subjected to the same

   persecution we faced; either way it would be disastrous.

7. We are worried about L.G.’s citizenship being in a legal limbo from L.G.’s birth after

   February 19, 2025, and of L.G. not having citizenship in any country.




                                            2
  Case 8:25-cv-00201-DLB          Document 97-7        Filed 06/27/25      Page 3 of 4



8. We are also scared about the possibility that L.G.’s U.S. citizenship could be questioned

   – and if that happens, whether L.G. could be threatened with deportation. It is very

   frightening to think of this, especially because my husband and I have legal protections in

   the U.S. that mean we cannot be deported. But if L.G. does not have U.S. citizenship, I

   do not know if L.G. will have any legal protections from deportation. If L.G. were

   threatened with deportation, our entire family would be uprooted in order to stay

   together. To us, staying together as a family is more important than anything else.

9. I understand that I am being asked to serve as a class representative in the name of my

   newborn baby L.G., on behalf of other babies who are similarly situated. I am willing to

   serve as class representative. I want our newborn baby recognized as a U.S. citizen, and I

   know many other families are in the same situation. Many children have grown up here,

   learned this country’s language and values, and made this nation their only home. Yet, they

   risk spending years without being able to regularize their status. That is why birthright

   citizenship represents a fundamental pillar of justice and hope for the new generations born

   on American soil.

10. It is important to defend the rights of children whose parents may have come here

   undocumented but have known no other country. The greatness of the U.S. lies in its

   promise of growth and opportunity, made possible by immigration. In Cuba, “to grow”

   does not even exist in the same way. These children don’t yet know what they are fighting

   for, but my husband and I do. I am proud to be a voice not just for our newborn baby L.G.,

   but for many others.

11. I do not want any future children we may have – or other immigrants have in the U.S. – to

   be excluded from U.S. citizenship and the country where they will grow up.


                                            3
Case 8:25-cv-00201-DLB   Document 97-7   Filed 06/27/25   Page 4 of 4
